     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 1 of 12 Page ID #:62




 1    Rodeen Talebi (CA SBN 320392)
 2
      talebi@fr.com
      FISH & RICHARDSON P.C.
 3    633 West Fifth Street, 26th Floor
 4
      Los Angeles, CA 90071
      Telephone: (213) 533-4240
 5    Facsimile: (858) 678-5099
 6
      Neil J. McNabnay (Pro Hac Vice)
 7    mcnabnay@fr.com
 8    Ricardo J. Bonilla (Pro Hac Vice)
      rbonilla@fr.com
 9    Noel F. Chakkalakal (Pro Hac Vice)
10    chakkalakal@fr.com
      FISH & RICHARDSON P.C.
11    1717 Main Street, Suite 5000
12    Dallas, TX 75201
      Telephone: (214) 747-5070
13    Facsimile: (214) 747-2091
14
      Counsel for Defendant
15    NIGHT OUT, INC.
16
                    IN THE UNITED STATES DISTRICT COURT
17                FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
19 SCANNING TECHNOLOGIES                      Case No. 2:21-cv-02620
20 INNOVATIONS, LLC,
                                              NIGHT OUT, INC.’S ANSWER,
21                Plaintiff,                  AFFIRMATIVE DEFENSES, AND
                                              COUNTERCLAIMS TO
22
            v.                                PLAINTIFF’S COMPLAINT
23

24 NIGHT OUT, INC.

25
                                              JURY TRIAL DEMANDED
                  Defendant.
26
27

28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 2 of 12 Page ID #:63




 1             Defendant Night Out, Inc. (“Night Out” or “Defendant”) files this Answer,
 2    Affirmative Defenses, and Counterclaims to Plaintiff Scanning Technologies
 3    Innovations LLC’s (“Plaintiff” or “Scanning Technologies”) Complaint for Patent
 4    Infringement (“Complaint”). Night Out denies the allegations and characterizations
 5    in Plaintiff’s Complaint unless expressly admitted in the following paragraphs.1
 6                                 PARTIES AND JURISDICTION
 7             1.     Night Out admits that the Complaint purports to set forth an action for
 8    infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.
 9             2.     Night Out admits that this Court has subject matter jurisdiction over
10    this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
11             3.      Night Out is without knowledge or information sufficient to form a
12    belief as to the truth of the allegations in Paragraph 3 of the Complaint and, on that
13    basis, denies all such allegations.
14             4.     Night Out admits the allegations in Paragraph 4 of the Complaint.
15             5.     Night Out does not contest that the Court has personal jurisdiction
16    over it in this case. Night Out admits that it conducts business in the State of
17    California. Night Out denies it has committed or is committing acts of
18    infringement within this district or elsewhere and, on that basis, denies the
19    remaining allegations of Paragraph 5 of the Complaint.
20             6.     Night Out admits that it conducts business in the State of California,
21    including using, importing, and offering for sale the accused devices. Night Out
22    denies it has committed or is committing acts of infringement within this district or
23    elsewhere and, on that basis, denies the remaining allegations of Paragraph 6 of the
24    Complaint.
25

26
      1
27        For avoidance of doubt, Night Out denies liability for all allegations of patent infringement
           included or implied in the introductory paragraph or in any headings of the Complaint.
28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 3 of 12 Page ID #:64




 1                                          VENUE
 2          7.     Night Out does not contest that venue is proper in this case, but denies
 3    that venue is convenient. Night Out denies it has committed or is committing acts
 4    of infringement within this district or elsewhere and, on that basis, denies the
 5    remaining allegations of Paragraph 7 of the Complaint.
 6         COUNT I: [ALLEGED] INFRINGEMENT OF THE ’101 PATENT
 7          8.     Night Out incorporates paragraphs 1 through 7 herein by reference.
 8          9.     Night Out admits that the Complaint purports to set forth an action for
 9    infringement under the Patent Laws of the United States, in particular, under 35
10    U.S.C. §§ 271, et seq.
11          10.    Night Out is without knowledge or information sufficient to form a
12    belief as to the truth of the allegations in Paragraph 10 of the Complaint.
13          11.    Night Out admits that a purported copy of U.S. Patent No. 10,600,101
14    (the “’101 Patent”) is attached to the Complaint as Exhibit A and that the face of
15    that patent indicates that it is entitled “Systems and Methods for Indicating the
16    Existence of Accessible Information Pertaining to Articles of Commerce.”
17          12.    Night Out denies the ’101 Patent is valid and enforceable. Night Out
18    is without knowledge or information sufficient to form a belief as to the truth of the
19    remaining allegations in Paragraph 12 of the Complaint and, on that basis, denies
20    all such allegations.
21          13.    Night Out denies the allegations in Paragraph 13 of the Complaint.
22          14.    Night Out denies the allegations in Paragraph 14 of the Complaint.
23          15.    Night Out denies the allegations in Paragraph 15 of the Complaint.
24          16.    Night Out denies the allegations in Paragraph 16 of the Complaint.
25          17.    Night Out denies the allegations in Paragraph 17 of the Complaint.
26          18.    Night Out denies the allegations in Paragraph 18 of the Complaint.
27          19.    Night Out denies the allegations in Paragraph 19 of the Complaint.
28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 4 of 12 Page ID #:65




 1          20.    Night Out denies the allegations in Paragraph 20 of the Complaint.
 2          21.    Night Out denies the allegations in Paragraph 21 of the Complaint.
 3          22.    Night Out denies the allegations in Paragraph 22 of the Complaint.
 4          23.    Night Out denies the allegations in Paragraph 23 of the Complaint.
 5          24.    Night Out denies the allegations in Paragraph 24 of the Complaint.
 6          25.    Night Out denies the allegations in Paragraph 25 of the Complaint.
 7          26.    Night Out denies the allegations in Paragraph 26 of the Complaint.
 8          27.    Night Out denies the allegations in Paragraph 27 of the Complaint.
 9          28.    Night Out denies the allegations in Paragraph 28 of the Complaint.
10          29.    Night Out denies the allegations in Paragraph 29 of the Complaint.
11          30.    Night Out denies the allegations in Paragraph 30 of the Complaint.
12          31.    Night Out denies the allegations in Paragraph 31 of the Complaint.
13          32.    Night Out denies the allegations in Paragraph 32 of the Complaint.
14          33.    Night Out is without knowledge or information sufficient to form a
15    belief as to the truth of the allegations in Paragraph 26 of the Complaint and, on
16    that basis, denies all such allegations.
17                         [PLAINTIFF’S] PRAYER FOR RELIEF
18          Night Out denies the Plaintiff is entitled to any relief from Night Out and
19    denies all the allegations contained in Paragraphs (a)-(e) (including any subparts) of
20    Plaintiff’s Prayer for Relief.
21                               AFFIRMATIVE DEFENSES
22          Night Out’s Affirmative Defenses are listed below. Night Out reserves the
23    right to amend its answer to add additional Affirmative Defenses consistent with the
24    facts discovered in this case.
25                            FIRST AFFIRMATIVE DEFENSE
26          Night Out has not infringed and does not infringe, under any theory of
27    infringement (including directly (whether individually or jointly) or indirectly
28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 5 of 12 Page ID #:66




 1    (whether contributorily or by inducement)), any valid, enforceable claim of the ’101
 2    Patent.
 3                         SECOND AFFIRMATIVE DEFENSE
 4          Each asserted claim of the ’101 Patent is invalid for failure to comply with
 5    one or more of the requirements of the United States Code, Title 35, including
 6    without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations,
 7    and laws pertaining thereto.
 8                          THIRD AFFIRMATIVE DEFENSE
 9          To the extent that Plaintiff and any predecessors in interest to the ’101 Patent
10    failed to properly mark any of their relevant products or materials as required by 35
11    U.S.C. § 287, or otherwise give proper notice that Night Out’s actions allegedly
12    infringe the ’101 Patent, Night Out is not liable to Plaintiff for the acts alleged to
13    have been performed before Night Out received actual notice that it was allegedly
14    infringing the ’101 Patent.
15                         FOURTH AFFIRMATIVE DEFENSE
16          To the extent that Plaintiff asserts that Night Out indirectly infringes, either
17    by contributory infringement or inducement of infringement, Night Out is not liable
18    to Plaintiff for the acts alleged to have been performed before Night Out knew that
19    its actions would cause indirect infringement.
20                           FIFTH AFFIRMATIVE DEFENSE
21          The claims of the ’101 Patent are not entitled to a scope sufficient to
22    encompass any system employed or process practiced by Night Out.
23                           SIXTH AFFIRMATIVE DEFENSE
24          To the extent Plaintiff contends that it alleges a claim for indirect infringement
25    (whether by inducement or contributorily), Plaintiff has failed to state a claim upon
26    which relief can be granted.
27

28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 6 of 12 Page ID #:67




 1                           SEVENTH AFFIRMATIVE DEFENSE
 2             Plaintiff’s Complaint fails to state a claim upon which relief can be granted
 3    because the ’101 Patent does not claim patent eligible subject matter under 35 U.S.C.
 4    § 101.
 5                           EIGHTH AFFIRMATIVE DEFENSE
 6             Plaintiff’s Complaint fails to state a claim upon which relief can be granted
 7    because, among other things, Plaintiff has not stated a plausible allegation that any
 8    system employed or process practiced by Night Out comprises: “a mobile device
 9    comprising a portable handheld housing and a communication interface configured
10    to enable the mobile device to communicate with a communication network, the
11    mobile device further comprising a signal processing device and a visual input
12    device, the visual input device affixed within the portable handheld housing”;
13    “digital files associated with the mobile device”; “a server in communication with
14    the communication network, the server comprising a server database configured to
15    store a look-up table that includes at least a plurality of bar codes associated with a
16    plurality of articles of commerce, the look-up table also storing a plurality of
17    information link indicators, each information link indicator associated with a
18    respective bar code and article of commerce, and each information link indicator
19    being configured as a status signal indicating the existence or absence of a link to
20    information pertaining to a respective article of commerce, the link being made to
21    the information via the communication network”; and “wherein the visual input
22    device is configured to scan an image of an article of commerce, decode the image
23    to obtain a bar code and forward data from the scanned image to the signal
24    processing device”; and “wherein, in response to receiving the bar code, the signal
25    processing device is configured to look up the bar code in the look-up table to
26    determine from a respective information link indicator whether or not a link exists
27

28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 7 of 12 Page ID #:68




 1    for accessing information pertaining to an article of commerce associated with the
 2    bar code via the communication network”; as required by Claim 1 of the ’101 Patent.
 3                           NINTH AFFIRMATIVE DEFENSE
 4          Plaintiff is estopped, based on statements, representations, and admissions
 5    made during prosecution of the patent application resulting in the asserted patent,
 6    from asserting any interpretation of any valid, enforceable claims of the ’101 Patent
 7    that would be broad enough to cover any accused product alleged to infringe the
 8    asserted patent, either literally or by application of the doctrine of equivalents.
 9                           TENTH AFFIRMATIVE DEFENSE
10          Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C.
11    §§ 286 and 287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering
12    costs associated with its action.
13                          ELEVENTH AFFIRMATIVE DEFENSE
14          Plaintiff is precluded from recovering its reasonable attorney’s fees, costs, and
15    or increased damages under 35 U.S.C. §§ 284 or 285.
16                          TWELFTH AFFIRMATIVE DEFENSE
17          Should Night Out be found to infringe any valid, enforceable claim of the ’101
18    Patent, such infringement was not willful.
19                           NIGHT OUT’S COUNTERCLAIMS
20          For its counterclaims against Plaintiff Scanning Technologies Licensing LLC
21    (“Scanning Technologies”), Counterclaim Plaintiff Night Out, Inc. (“Night Out”),
22    alleges as follows:
23                                          PARTIES
24          1.      Counterclaim Plaintiff Night Out, Inc. is an entity organized and
25    existing under the laws of California that maintains a place of business at 1242 San
26    Miguel Avenue, Santa Barbara, CA 93109.
27          2.      Upon information and belief based solely on Paragraph 3 of the
28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 8 of 12 Page ID #:69




 1    Complaint as pled by Plaintiff, Counterclaim Defendant Scanning Technologies
 2    Licensing LLC is a corporation organized and existing under the laws of Texas that
 3    maintains its principal place of business at 1 East Broward Boulevard, Suite 700,
 4    Ft. Lauderdale, FL 33301.
 5                                      JURISDICTION
 6          3.      Night Out incorporates by reference Paragraphs 1–2 above.
 7          4.      These counterclaims arise under the patent laws of the United States,
 8    Title 35, United States Code. The jurisdiction of this Court is proper under at least
 9    35 U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
10          5.      Scanning Technologies has consented to the personal jurisdiction of
11    this Court at least by commencing its action for patent infringement in this District,
12    as set forth in its Complaint.
13          6.      Based solely on Scanning Technologies’s filing of this action, venue
14    is proper for purposes of these counterclaims in this District pursuant at least 28
15    U.S.C. §§ 1391 and 1400.
16                                         COUNT I
17       DECLARATION REGARDING NON-INFRINGEMENT OF THE ’101
18                                          PATENT
19          7.      Night Out incorporates by reference Paragraphs 1–6 above.
20          8.      Based on Scanning Technologies’s filing of this action and at least
21    Night Out’s first affirmative defense, an actual controversy has arisen and now
22    exists between the parties as to whether Night Out infringes U.S. Patent No.
23    10,600,101 (the “’101 Patent”).
24         9.       Night Out does not infringe at least Claim 1 of the ’101 Patent
25    because, inter alia, the accused system does not comprise: “a mobile device
26    comprising a portable handheld housing and a communication interface configured
27    to enable the mobile device to communicate with a communication network, the
28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 9 of 12 Page ID #:70




 1    mobile device further comprising a signal processing device and a visual input
 2    device, the visual input device affixed within the portable handheld housing”;
 3    “digital files associated with the mobile device”; “a server in communication with
 4    the communication network, the server comprising a server database configured to
 5    store a look-up table that includes at least a plurality of bar codes associated with a
 6    plurality of articles of commerce, the look-up table also storing a plurality of
 7    information link indicators, each information link indicator associated with a
 8    respective bar code and article of commerce, and each information link indicator
 9    being configured as a status signal indicating the existence or absence of a link to
10    information pertaining to a respective article of commerce, the link being made to
11    the information via the communication network”; and “wherein the visual input
12    device is configured to scan an image of an article of commerce, decode the image
13    to obtain a bar code and forward data from the scanned image to the signal
14    processing device”; and “wherein, in response to receiving the bar code, the signal
15    processing device is configured to look up the bar code in the look-up table to
16    determine from a respective information link indicator whether or not a link exists
17    for accessing information pertaining to an article of commerce associated with the
18    bar code via the communication network.”
19          10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201
20    et seq., Night Out requests a declaration by the Court that Night Out has not
21    infringed and does not infringe any claim of the ’101 Patent under any theory
22    (including directly (whether individually or jointly) or indirectly (whether
23    contributorily or by inducement).
24                                         COUNT II
25                     DECLARATION REGARDING INVALIDITY
26          11.     Night Out incorporates by reference Paragraphs 1–10 above.
27          12.     Based on Scanning Technologies’s filing of this action and at least
28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 10 of 12 Page ID #:71




 1    Night Out’s Second Affirmative Defense, an actual controversy has arisen and now
 2    exists between the parties as to the validity of the claims of the ’101 Patent.
 3          13.     The asserted claims of the ’101 Patent are anticipated and/or
 4    rendered obvious by, inter alia, U.S. Patent No. 8,489,598 and U.S. Patent No.
 5    8,457,449.
 6          14.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201
 7    et seq., Night Out requests a declaration by the Court that the claims of the ’101
 8    Patent are invalid for failure to comply with one or more of the requirements of
 9    United States Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102,
10    103, and 112, and the rules, regulations, and laws pertaining thereto.
11                                 PRAYER FOR RELIEF
12          WHEREFORE, Night Out asks this Court to enter judgment in Night Out’s
13    favor and against Scanning Technologies by granting the following relief:
14          a)      a declaration that the ’101 Patent is invalid;
15          b)      a declaration that Night Out does not infringe, under any theory, any
16    valid claim of the ’101 Patent that may be enforceable;
17          c)      a declaration that Scanning Technologies take nothing by its
18    Complaint;
19          d)      judgment against Scanning Technologies and in favor of Night Out;
20          e)      dismissal of the Complaint with prejudice;
21          f)      a finding that this case is an exceptional case under 35 U.S.C. § 285
22    and an award to Night Out of its costs and attorneys’ fees incurred in this action;
23    and
24          g)      further relief as the Court may deem just and proper.
25                                      JURY DEMAND
26          Night Out hereby demands trial by jury on all issues.
27

28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 11 of 12 Page ID #:72




 1
             Dated: May 14, 2021                   Respectfully submitted,
 2

 3
                                                   By: /s/ Rodeen Talebi
                                                   Rodeen Talebi
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
     Case 2:21-cv-02620-AB-GJS Document 12 Filed 05/14/21 Page 12 of 12 Page ID #:73




 1                             CERTIFICATE OF SERVICE
 2    I hereby certify that a true and correct copy of the above and foregoing document
 3    has been served on all counsel of record via the Court’s ECF system on March 14,
 4    2021.
 5

 6
                                                           /s/ Neil J. McNabnay
                                                           Neil J. McNabnay
 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28
                                    Case No. 6:21-cv-02620
      NIGHT OUT, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
26                            PLAINTIFF’S COMPLAINT
